JS 44 (Rev. 10/20)

purpose of initiating the civil docket sheet.

I. (a) PLAINTIFFS

Case 2:20-cv-05430-AB Document 1 Filed 10/30/20 Page 1 of 29
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

Navigators Insurance Company

(b) County of Residence of First Listed Plaintiff

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

See Attached

Hartford, CT

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

DEFENDANTS

NOTE:

Attorneys (If Known)

 

Middle East Forum; Daniel Pipes; Gregory Roman; and
Matthew Bennett

County of Residence of First Listed Defendant

Philadelphia, PA

(IN US. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

 

II. BASIS OF JURISDICTION (Place an “X" in One Box Only)

[]i

U.S. Government
Plaintiff

[_]2 U.S. Government
Defendant

[_]3 Federal Question
(U.S. Government Not a Party)

[x]4 Diversity
(indicate Citizenship of Parties in Item If)

 

(For Diversity Cases Only)

I. CITIZENSHIP OF PRINCIPAL PARTIES (Ptace an “x” in One Box for Plaintiff

and One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State | 1 CT 1 Incorporated or Principal Place im 4 [x] 4
of Business In This State
Citizen of Another State CO 2 Cl 2 Incorporated and Principal Place [x] 5 Cc) 5
of Business In Another State
Citizen or Subject of a O 3 C] 3 Foreign Nation CO 6 C] 6

Foreign Country

 

 

 

 

 

  
 

  

 

 

 

IV. NATURE OF SUIT (Ptace an "x" in One Box Only) Click here for: Nature of Suit Code Descriptions.
ih CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY | )625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine H 310 Airplane C 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | ]690 Other 28 USC 157 3729{a))
140 Negotiable Instrument Liability i 367 Health Care/ | 400 State Reapportionment
150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act | 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability CJ 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Conupt Organizations
C] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR : | 880 Defend Trade Secrets rly 480 Consumer Credit
of Veteran's Bencfits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
160 Stockholders’ Suits a 355 Motor Vehicle 371 Truth in Lending Act ria) 485 Telephone Consumer
190 Other Contract Product Liability 380 Other Personal | |720 Labor/Management __ SOCIAL SECURITY Protection Act
195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 AIA (1395ff) 490 Cable/Sat TV

196 Franchise

| REAL PROPERTY

Injury
|] 362 Personal Injury -
Medical Malpractice

CIVIL RIGHTS

CJ 385 Property Damage
Product Liability

[PRISONER PETITIONS |

751 Family and Medical
Leave Act

| _|790 Other Labor Litigation

en Railway Labor Act

 

210 Land Condemnation
220 Foreclosure

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability
290 All Other Real Property

 

440 Other Civil Rights
441 Voting
442 Employment

| 448 Education

 

Habeas Corpus:
463 Alien Detainee
510 Motions to Vacate

| _]791 Employee Retirement
Income Security Act

862 Black Lung (923)

863 DIWC/DIW W (405(g))
864 SSID Title XVI

865 RSI (405(g))

ITS.
870 Taxes (U.S. Plaintiff

or Defendant)
[} 871 IRS—Third Party

 

 

 

H

 

 

555 Prison Condition
560 Civil Detainee -
Conditions of

H
A

443 Housing/ Sentence
Accommodations $30 General
|_| 445 Amer. w/Disabilities -[_] 535 Death Penalty IMMIGRATION
Employment Other: 462 Naturalization Application
| 446 Amer. w/Disabilitics - 540 Mandamus & Other 465 Other Immigration
Other 550 Civil Rights Actions

26 USC 7609

a

 

 

 

Confinement

 

850 Securities/Commodities/
Exchange
890 Other Statutory Actions

|__| 891 Agricultural Acts

893 Environmental Matters

895 Freedom of Information
Act

896 Arbitration

899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

950 Constitutionality of
State Statutes

 

V. ORIGIN (Place an "X” in One Box Only)

| Original
Proceeding

2 Removed from 3
U State Court U

Remanded from
Appellate Court

C 4 Reinstated or Cl 5 Transferred from
Another District
(specify)

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Reopened

6 Multidistrict
Litigation -
Transfer

8 Multidistrict
Litigation -
Direct File

 

VI. CAUSE OF ACTION

 

Brief description of cause:
Declaratory Judgment regarding insurance coverage

 

 

 

 

 

VIT. REQUESTED IN ~~ (7) CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: LlYes [*]No
VIII. RELATED CASE(S)

(See instructions);

IF ANY JUDGE DOCKET NUMBER

DATE SIGNATURE OF ATTORNEY OF RECORD
October 30, 2020 s/Brian F. Breen
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
Case 2:20-cv-05430-AB Document 1 Filed 10/30/20 Page 2 of 29

ATTACHMENT TO CIVIL COVER SHEET

 

 

Attorneys for Plaintiff
Navigators Insurance Company

Brian F. Breen

PA IDNo. 81416

Louis J. Isaacsohn

PAID No. 34005

Wilson Elser Moskowitz Edelman & Dicker LLP
Two Commerce Square

2001 Market Street Suite 3100
Philadelphia, PA 19103

(215) 627-6900

(215) 627-2665 (fax)

brian, breen@wilsonelser.com
louis. isaacsohn(@wilsonelser.com

 

 

 

 
Case 2:20-cv-05430-AB Document 1 Filed 10/30/20 Page 3 of 29
UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: One Hartford Plaza, Mail Stop: HO-1-06 Hartford, Connecticut 06155

 

Address of Defendant: 1650 Market Street, Suite 3600, Philadelphia, PA 19103

 

1650 Market Street, Suite 3600, Philadelphia, PA 19103

Place of Accident, Incident or Transaction:

 

 

RELATED CASE, IF ANY: SEE ATTACHED
Case Number: Judge: Date Terminated:
Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [ | No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes No [
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [ | No
numbered case pending or within one year previously terminated action of this court?

4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [] No

case filed by the same individual?

I certify that, to my knowledge, the within case [J is / (1) is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

DATE. October 30, 2020 s/Brian F, Breen 81416

 

Attorney-at-Law / Pro Se Plaintiff Attorney ID. # (if applicable)

 

 

CIVIL: (Place a ¥ in one category only)

 

A, Federal Question Cases: B. Diversity Jurisdiction Cases:
C] 1 Indemnity Contract, Marine Contract, and All Other Contracts 1, Insurance Contract and Other Contracts
(] 2. FELA [_] 2. Airplane Personal Injury
[] 3. Jones Act-Personal Injury (] 3. Assault, Defamation
[] 4. Antitrust [] 4. Marine Personal Injury
H 5. Patent [] 5. Motor Vehicle Personal Injury

6. Labor-Management Relations [.] 6. Other Personal Injury (Please specify):
C] 7. Civil Rights [-] 7. Products Liability
[CJ 8. Habeas Corpus [] 8. Products Liability — Asbestos
H 9, Securities Act(s) Cases [] 9. All other Diversity Cases

10. Social Security Review Cases (Please specify):
[] 11. Allother Federal Question Cases

(Please specify):

 

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

Brian F. Breen

—

; counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

Relief other than monetary damages is sought.

pate: October.30: 2020 s/Brian F. Breen 81416
Attorney-at-Law / Pro Se Plaintiff Attorney ID. # (if applicable)

 

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P, 38.

 

Civ 609 (5/2018)

 
Case 2:20-cv-05430-AB Document 1 Filed 10/30/20 Page 4 of 29

ATTACHMENT TO DESIGNATION FORM

Related Cases:
. Patricia McNulty v The Middle East Forum, Daniel Pipes, Greg Roman, and Matthew Bennett,
Case No. 19-cv-05029-AB (E.D. PA.);

. Patricia McNulty v The Middle East Forum, and Greg Roman, Case No. 20-cv-0245 (E.D. PA.);

. Lisa Barbounis v The Middle East Forum, Daniel Pipes, Greg Roman, and Matthew Bennett,

Case No. 19-cv-05030-JDW (E.D. PA.);

. Lisa Barbounis v The Middle East Forum, and Greg Roman, Case No. 20-cv-02946 (E.D. PA.)

. Caitriona Brady vy The Middle East Forum, Daniel Pipes, Greg Roman, and Matthew Bennett,

Case No. 19-cv-05082-MAK (E.D. PA.);

. Delaney Yonchek vy The Middle East Forum, Daniel Pipes, and Greg Roman, Case No. 19-cv-

05083-PD (E.D. PA.);

. Marnie O'Brien v. Middle East Forum, Daniel Pipes, and Greg Roman, Case No. 19-cv-

06078-PBT (E.D. PA.); and

. Marnie O'Brien v. Middle East Forum, Daniel Pipes, and Greg Roman, Case No. 20-cv-

00457-JMY (E.D. PA.);
Case 2:20-cv-05430-AB Document 1 Filed 10/30/20 Page 5 of 29

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)
Address of Plaintiff. One Hartford Plaza, Mail Stop: HO-1-06 Hartford, Connecticut 06155
Address of Defendant: 1650 Market Street, Suite 3600, Philadelphia, PA 19103

 

1650 Market Street, Suite 3600, Philadelphia, PA 19103

Place of Accident, Incident or Transaction:

 

 

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Case Number: ___ Judge: Date Terminated:

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previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes No [|
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3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No
numbered case pending or within one year previously terminated action of this court?

4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No

case filed by the same individual?

1 certify that, to my knowledge, the within case (1) is / (Dis not related to any case now pending or within one year previously terminated action in
this court except as noted above,

October 30, 2020 s/Brian F. Breen 81416
Attorney-at-Law / Pro Se Plaintiff Attorney ID. # (if applicable)

DATE:

 

 

 

CIVIL: (Place a ¥ in one category only)

Social Security Review Cases (Please specify):

 

a

All other Federal Question Cases
(Please specify):

A, Federal Question Cases: B. Diversity Jurisdiction Cases:
[] 1. Indemnity Contract, Marine Contract, and All Other Contracts 1. Insurance Contract and Other Contracts
CL) 2. FELA [J 2. Airplane Personal Injury
(1 3. Jones Act-Personal Injury [] 3. Assault, Defamation
EJ] 4. Antitrust [] 4. Marine Personal Injury
H 5. Patent [.] 5. Motor Vehicle Personal Injury
6. Labor-Management Relations [] 6. Other Personal Injury (Please specify):
LJ 7. Civil Rights [] 7. Products Liability
[] 8. Habeas Corpus [] 8. Products Liability — Asbestos
H 9. Securities Act(s) Cases [] 9. All other Diversity Cases
1
oO!

 

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

I Brian F. Breen

. counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

Relief other than monetary damages is sought.

pate. October 30, 2020 s/Brian F. Breen 81416
Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

 

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ 609 (5/2018)

 
Case 2:20-cv-05430-AB Document 1 Filed 10/30/20 Page 6 of 29

ATTACHMENT TO DESIGNATION FORM

Related Cases:
. Patricia McNulty v The Middle East Forum, Daniel Pipes, Greg Roman, and Matthew Bennett,
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. Lisa Barbounis v The Middle East Forum, Daniel Pipes, Greg Roman, and Matthew Bennett,

Case No. 19-cv-05030-JDW (E.D. PA,);

. Lisa Barbounis v The Middle East Forum, and Greg Roman, Case No. 20-cv-02946 (E.D. PA.)

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Case No, 19-cv-05082-MAK (E.D. PA.);

. Delaney Yonchek vy The Middle East Forum, Daniel Pipes, and Greg Roman, Case No. 19-cv-

05083-PD (E.D. PA.);

. Marnie O'Brien v. Middle East Forum, Daniel Pipes, and Greg Roman, Case No. 19-cv-

06078-PBT (E.D. PA.); and

. Marnie O’Brien v. Middle East Forum, Daniel Pipes, and Greg Roman, Case No. 20-cv-

00457-JMY (E.D. PA.);
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM
NAVIGATORS INSURANCE COMPANY ; CIVIL ACTION

v.
MIDDLE EAST FORUM, DANIEL PIPES,
GREGORY ROMAN AND MATTHEW BENNETT

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

NO.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. (4

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

 

management cases.) a)
(f) Standard Management — Cases that do not fall into any one of the other tracks, (~)
_ October 30, 2020 Brian F, Breen Navigators Insurance Company
Date Attorney-at-law Attorney for
(215) 627-6900 (215) 627-2665 brian. breen@wilsonelser.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

NAVIGATORS INSURANCE COMPANY,

Plaintiff,

Case No.
MIDDLE EAST FORUM, DANIEL PIPES,
GREGORY ROMAN AND MATTHEW
BENNETT,

Defendants.

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COMPLAINT FOR DECLARATORY JUDGMENT
NOW COMES Plaintiff, Navigators Insurance Company (“Navigators”), by and through its
attorneys, Brian F. Breen, Esquire and Louis J. Isaacsohn, Esquire of Wilson Elser Moskowitz
Edelman & Dicker LLP, and for its Complaint for Declaratory Judgment pursuant to 28 U.S.C.
Sections 2201-2202 against Defendants, Middle East Forum (“MEF”), Daniel Pipes (“Pipes”),
Gregory Roman (“Roman”) and Matthew Bennett (“Bennett”)(collectively referred to as the
“MEF Defendants”) and states as follows:
STATEMENT OF THE CASE
1. This action seeks a declaration that Navigators has no contractual duty to provide
insurance coverage under a policy of insurance issued to MEF in connection with certain lawsuits
styled as follows:
a. Patricia McNulty v The Middle East Forum, Daniel Pipes, Greq Roman, and Matthew

Bennett, Case No. 19-cv-05029-AB (E.D. PA.);

 

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Case 2:20-cv-05430-AB Document 1 Filed 10/30/20 Page 9 of 29

b. Patricia McNulty v The Middle East Forum, and Greg Roman, Case No. 20-cv-0245
(E.D. PA.);
c. Lisa Barbounis v The Middle East Forum, Daniel Pipes, Greq Roman, and Matthew
Bennett, Case No. 19-cv-05030-JDW (E.D. PA.);
d. Lisa Barbounis v The Middle East Forum, and Greg Roman, Case No. 20-cv-02946
(E.D. PA.)
e. Caitriona Brady v The Middle East Forum, Daniel Pipes, Greg Roman, and Matthew
Bennett, Case No. 19-cv-05082-MAK (E.D. PA.);
f. Delaney Yonchek v The Middle East Forum, Daniel Pipes, and Greg Roman, Case
No. 19-cv-05083-PD (E.D. PA.);
g. Marnie O’Brien v. Middle East Forum, Daniel Pipes, and Greg Roman, Case No. 19-
cv-06078-PBT (E.D. PA.); and
h. Marnie O’Brien v. Middle East Forum, Daniel Pipes, and Greg Roman, Case No. 20-
cv-00457-JMY (E.D. PA.);
(collectively “Underlying Actions”). Copies of the complaints filed by Patricia McNulty
(“McNulty”) are attached hereto as Exhibits A, B, and C. Copies of the complaints filed by Lisa
Barbounis (“Barbounis”) are attached hereto as Exhibits D, E, F and G. Copies of the complaints
filed by Caitriona Brady (“Brady”) are attached hereto as Exhibits H, | and J. A copy of the
complaint filed by Delaney Yonchek (“Yonchek”) is attached hereto as Exhibit K. Copies of the
complaints filed by Marnie O’Brien (“O’Brien”) are attached hereto as Exhibit Land M. McNulty,
Barbounis, Brady, Yoncheck and O’Brien are collectively referred to herein as the “Underlying

Plaintiffs”.

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Case 2:20-cv-05430-AB Document1 Filed 10/30/20 Page 10 of 29

PARTIES
2. Navigators is an insurance company formed under the laws of the State of New
York with its principal place of business in Connecticut. Navigators conducts business in
Pennsylvania and within the geographical boundaries of this District.
3. MEF is a non-profit corporation formed under the laws of the State of
Pennsylvania with its principal place of business in Pennsylvania. MEF conducts business in

Pennsylvania and within the geographical boundaries of this District.

4. Pipes is a resident and citizen of Pennsylvania.
5. Roman is a resident and citizen of Pennsylvania.
6. Bennett is a resident and citizen of New Jersey.

JURISDICTION AND VENUE
7. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.
§1332 as the amount in controversy exceeds $75,000.00 exclusive of costs and interest and the
Parties are citizens of different states.
8. Venue is proper in this District pursuant to 28 U.S.C. §1391 as the case concerns
insurance coverage under a policy of insurance issued within the geographical boundaries of this
District, MEF’s principal place of business is within the geographical boundaries of this District

and the Parties reside and/or conduct business in this District.

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Case 2:20-cv-05430-AB Document1 Filed 10/30/20 Page 11 of 29

FACTS

9. The Underlying Actions concern claims by former MEF employees for alleged
workplace sex harassment, discrimination and/or retaliation against MEF, Pipes, Roman and/or
Bennett. See Exhibits A-M.

10. The Underlying Actions allege Roman and/or Bennett engaged in a pattern and
practice of sexual harassment, sexual assault, sexual misconduct, quid pro quo sexual harassment
and sex discrimination against MEF’s female employees and MEF failed to investigate the
complaints and/or take any action. /d.

11. On or about November 1, 2018, Marnie O’Brien a/k/a Marnie Meyer allegedly
handwrote a letter to Pipes addressing Roman’s alleged misconduct with female employees,
which included, among others, O’Brien, an intern Leah Merville, and Barbounis. See /d.

12. The Underlying Actions allege after the November 1, 2018 letter, a staff meeting
was held on or about November 5, 2018 in which McNulty, Barbounis, O’Brien, Brady and
Yonchek all complained of harassment and discrimination of MEF’s female staff by Roman and
after the meeting, Pipes allegedly failed to discipline Roman, change Roman’s pay and rewarded
Roman with remote work and less supervisory responsibility. See /d.

13. The Underlying Actions allege that McNulty, Barbounis, O’Brien, Brady and
Yonchek were not the only female employees to complain about Roman’s alleged discrimination,
harassment and retaliation and that Pipes had been receiving complaints about Roman for
several years. See /d.

14. Tiffany Lee was also an MEF female employee who Roman supervised and who

was allegedly sexually harassed, discriminated and/or retaliated against.

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Case 2:20-cv-05430-AB Document1 Filed 10/30/20 Page 12 of 29

15. By approximately December 2016, the MEF Defendants were notified of a Charge
of Discrimination filed with the U.S. Equal Employment Opportunity Commission (“EEOC”) by
former MEF female employee Tiffany Lee alleging that Roman subjected female employees to
sexual harassment, sexual misconduct, sex discrimination, and retaliation (“the Tiffany Lee
Claim”).

16. In approximately January 2017, the Tiffany Lee Claim was reported by or on behalf
of MEF to Chubb, an insurer who issued Employment Practices Liability (“EPL”) insurance to MEF
before the Policy (as defined in Paragraph 18 below) issued by Navigators to MEF became
effective.

17. In June 2019, MEF’s insurance broker provided notice to Navigators of claims by
McNulty, Barbounis, O’Brien, Brady and Yonchek under the Policy.

18. Navigators issued a Not-For-Profit InNAVation Policy No. NY1I8DOLVO3594NV (the
“Policy”) to MEF on a claims-made and reported basis for the Policy Period from December 23,
2018 to December 23, 2019. Subject to its terms, limits and endorsements, the Policy provides
certain insurance coverage with a limit of liability of $3,000,000 and a $5,000 Retention for
Indemnified Loss as to each Claim under the Employment Practices Liability Coverage Part. Per
Endorsement No. 10, there is a $1,000,000 maximum aggregate Additional Limit of Liability for
Costs of Defense. A copy of the Policy is attached as Exhibit N and incorporated herein in its
totality.

19. Subject to all of its terms, the Employment Practices Claims Made and Reported

Coverage in the Policy provides, in part, as follows:

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2981276v.1

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Navigators Insurance Company

GENERAL TERMS AND CONDITIONS

THIS IS A CLAIMS-MADE AND REPORTED POLICY
WITH COSTS OF DEFENSE INCLUDED IN THE LIMIT OF LIABILITY.
PLEASE READ THE ENTIRE POLICY CAREFULLY.

In consideration of the payment of the premium and in reliance
upon all statements made and information furnished to the
insurance company shown in the Declarations (the “Insurer”),
including the statements made in the Proposal Form, and subject
to all terms, conditions and limitations of this Policy, the Insureds
and the Insurer agree:

* * *
Section II. Definitions
* * *
N. “Loss” will mean compensatory damages, punitive or

exemplary damages, the multiple portion of any multiplied
damage award, settlements and Costs of Defense;
provided, however, that Loss will not include salaries,
wages, overhead or benefit expenses associated with any
Insured, criminal or civil fines or penalties imposed by law,
taxes, or any matter which may be deemed uninsurable
under the law pursuant to which this Policy shall be
construed. It is understood and agreed that the
enforceability of the foregoing coverage shall be governed
by such applicable law which most favors coverage for
punitive or exemplary damages or the multiple portion of
any multiplied damage award.

* * *
Q. “Policy Period” will mean the period from the inception
date of this Policy to the expiration date of this Policy as set

forth in ITEM 2 of the Declarations, or to its earlier
termination if applicable.

* * *
U. “Related Wrongful Acts” will mean Wrongful Acts which are
logically or causally connected by reason of any common or

6
Case 2:20-cv-05430-AB Document1 Filed 10/30/20 Page 14 of 29

related fact, circumstance, situation, transaction, event or

decision.
* * *
Section VII. Notice
A. As a condition precedent to their rights under this Policy in

connection with any Claim, the Insureds must give the
Insurer written notice of such Claim as soon as practicable
after such Claim is made, but in no event later than sixty
(60) days after the end of the Policy Period, or during any
applicable Discovery Period. Subject to the foregoing,
written notice of a Claim will be deemed to have been given
as soon as practicable if such notice is given not later than
sixty (60) days after the Chairman of the Board of Directors,
President, Chief Executive Officer, Chief Financial Officer,
General Counsel, or Risk Manager of the Company first
becomes aware of such Claim.

B. If, during the Policy Period or Discovery Period, any Insured
first becomes aware of any circumstances which may
reasonably be expected to give rise to a Claim being made
against an Insured and the Insured gives written notice to
the Insurer of:

1. the circumstances;
2. the Wrongful Act allegations anticipated; and
3: the reasons for anticipating such a Claim;

with full particulars as to the dates, persons and entities
involved, then a Claim which is subsequently made against
such Insured and reported to the Insurer alleging, arising
out of, based upon or attributable to such circumstances or
alleging any Wrongful Act which is the same as or related to
any Wrongful Act alleged or contained in such
circumstances, shall be considered made at the time the
Insurer received such written notice.

C. Written notice to the Insurer under Sections VII.A and B
above must be given to:

Navigators Insurance Company
One Penn Plaza

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Case 2:20-cv-05430-AB Document1 Filed 10/30/20 Page 15 of 29

New York, NY 10119
ATTN: Navigators Pro Claims Department
or by email: navproclaims@navg.com

Section VIII. General Conditions

* * *

B. Interrelationship of Claims

All Claims involving the same Wrongful Act or Related
Wrongful Acts of one or more Insureds will be considered a
single Claim, and will be deemed to have been made on the
earlier of the following dates: (1) the earliest date on which
any such Claim was first made; or (2) the earliest date on
which any such Wrongful Act or Related Wrongful Act was
reported under this Policy or any other policy providing
similar coverage.

EMPLOYMENT PRACTICES LIABILITY COVERAGE PART

THIS IS A CLAIMS-MADE AND REPORTED POLICY
WITH COSTS OF DEFENSE INCLUDED IN THE LIMIT OF LIABILITY.
PLEASE READ THE ENTIRE POLICY CAREFULLY.

In consideration of the payment of the premium and in reliance
upon all statements made and information furnished to the
insurance company shown in the Declarations (the “Insurer”),
including the statements made in the Proposal Form, and subject
to all terms, conditions and limitations of this Policy, the Insureds
and the Insurer agree:

Section I. Insuring Agreement

Provided that a Claim is first made against an Insured during the
Policy Period or the Discovery Period, if purchased, and further that
such Claim is reported to the Insurer in accordance with Section VII.
Notice of the GENERAL TERMS AND CONDITIONS, the Insurer will
pay to or on behalf of the Insureds all Loss which the Insureds are
legally obligated to pay as a result of a Claim first made against the
Insureds during the Policy Period or the Discovery Period, if
purchased, for a Wrongful Act by an Insured in his, her or its
capacity as such.

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Section Il. Definitions

A. For purposes of this Coverage Part, the term “Claim” will
mean:

1. any of the following:

a. a written demand for monetary or injunctive
relief or a written demand for
reinstatement, re-employment -or  re-
engagement;

b. a civil proceeding commenced by the service
of a complaint, summons, notice of
application, writ, claim form or similar
pleading in any jurisdiction in the world;

C. an arbitration proceeding pursuant to an
employment contract, policy or practice of
the Company commenced by receipt of a
demand for arbitration or similar document;

d. a criminal proceeding outside the United
States of America commenced by a return of
an indictment or information or similar
document; or

e. a formal administrative or regulatory
proceeding by or before the Equal
Employment Opportunity Commission, or
any other similar government agency
located anywhere in the world with
jurisdiction over the Company’s
employment practices, which is commenced
by the issuance of a notice of charges, formal
investigative order or similar document and
an audit conducted by the Office of Federal
Contract Compliance Programs which is
commenced by the issuance of a notice of
violation, order to show cause or written
demand for monetary or injunctive relief.

which is brought and maintained by or on behalf of any
past, present or prospective Employee against any Insured
for any Wrongful Act, including any appeal therefrom; or

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2. any written request for any Insured to toll or waive
any potentially applicable statute of limitations
related to any employment Claim as described in
paragraph 1. above.

However, Claim will not include any labor or grievance
arbitration or other proceeding which is subject to a
collective bargaining agreement.

B. “Employee” will mean:

1. any individual whom the Company compensates by
wages, salary and/or commissions and whose labor
or service is directed by the Company, whether such
individual performs such labor or service on a full-
time, part-time, seasonal or temporary basis;

2. any individual who performs labor or services for
the Company as a volunteer;

3% any individual who is leased or loaned to the
Company to perform labor or service for the
Company, but only if the Company provides
indemnification to such individual in the same
manner and to the same extent as to its other
Employees; and

4. any individual contracted to perform work for the
Company or who is an independent contractor for
the Company, but only if, prior to any Claim against
such individual, the Company shall have agreed in
writing to provide indemnification to such individual
for matters within the scope of coverage of this
Coverage Part, and the Company shall have paid any
additional premium required by the Insurer in
connection with such individual.

C. For purposes of this Coverage Part, the term “Insured” will
mean the Company and all Insured Persons.

D. For purposes of this Coverage Part, the term “Insured
Person” will mean:

1. any duly elected or appointed principal, partner,
director, officer, trustee, in-house general counsel,

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risk manager or member of the board of managers
or management committee of the Company;

2; any executive of the Company located outside of the
United States of America who holds a position with
respect to the Company equivalent to any position
described in Sections II.D.1 above; or

3. any Employee.

* * *

H. For purposes of this Coverage Part, the term “Wrongful Act”
will mean:

1. any actual or alleged:

a. wrongful dismissal, discharge or termination
(whether actual, constructive or retaliatory)
of employment, wrongful failure or refusal
to hire or promote, wrongful discipline or
demotion, wrongful deprivation of career
opportunity, negligent employment
evaluation, employment related
misrepresentation, or failure to grant
tenure;

b. sexual or other workplace harassment,
including quid pro quo and hostile work
environment;

c. unlawful employment — discrimination,
including discrimination based on a person’s
age, gender, race, color, national origin,
religion, creed, marital status, sexual
orientation or preference, pregnancy,
disability, HIV or other health status,
Vietnam Era veteran or other military status,
or other protected status or characteristic
under federal, state or local law, including
but not limited to:

° Title Vil of the Civil Rights Act of
1964;
e the Equal Pay Act of 1963;

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° the Age Discrimination Act of 1967;

® Sections 501 and 502 of the
Rehabilitation Act of 1973;

® the Uniformed Services Employment
and Reemployment Rights Act; and

° Titles | and IV of the Americans with

Disabilities Act of 1990;

d. employment-related invasion of privacy,
defamation (including libel and slander) or
negligent or intentional infliction of
emotional distress;

e. failure of the Company to create, provide for
or enforce adequate or _ consistent
employment-related policies;

f. retaliatory treatment on account of an
Employee’s exercise or attempted exercise
of his or her employment-related rights
under law, including but not limited to
Sections 806 and 1107 of the Sarbanes-Oxley
Act of 2002;

g. violation of employment-related civil rights
relating to any of the above; or

h. violation of the Family and Medical Leave
Act of 1993;

i. Third Party Wrongful Act (if purchased);

committed or attempted, or allegedly committed or
attempted, with respect to an Employee or an
applicant for employment with the Company; and

2. if it is stated in ITEM 3 of the Declarations that the
Optional Third Party Coverage under this Coverage
Part has been purchased, any Third Party Wrongful
Act.

Section III. Exclusions

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A. The Insurer will not be liable under this Coverage Part to
make any payment of any Loss in connection with any Claim
made against any Insured:

1. brought about or contributed to by:
* * *
b. the deliberately fraudulent or criminal acts

of any Insured;

provided, however, this exclusion will apply only if it
is finally adjudicated that such conduct in fact
occurred;

2. based upon, arising out of, relating to, directly or
indirectly resulting from or in consequence of, or in
any way involving any Wrongful Act or Related
Wrongful Act or any fact, circumstance or situation
which has been the subject of any notice given
under any other policy of which this Coverage Part
is a renewal or replacement;

* * *
4, for any actual or alleged;
a. bodily injury, sickness, mental anguish,

emotional distress (other than employment-
related mental anguish, emotional distress
or humiliation);

b. false arrest, wrongful detention § or
imprisonment, malicious prosecution or
abuse of process, defamation, including
libel, slander, publication of material in
violation of a person’s right of privacy,
invasion of privacy, trespass, nuisance,
wrongful entry or eviction, assault, battery,
loss of consortium, false arrest, false
imprisonment; or

* * *

ENDORSEMENT NO.: 4

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This endorsement, effective 12:01 am, 12/23/2018 forms part of
Policy number: NY18DOLV03594NV

Issued to: Middle East Forum

By: Navigators Insurance Company

PUBLISHING, ADVERTISING & BROADCASTING
CLAIM EXCLUSION ENDORSEMENT

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
CAREFULLY.

Applicable to all Coverage Parts, the following exclusion is added:

In consideration of the premium paid for this policy, it is agreed
that the Insurer will not be liable to make any payment of any Loss
in connection with any Claim made against any Insured based
upon, arising out of, relating to, directly or indirectly resulting from,
or in any way involving any Publishing, Advertising & Broadcasting
Claim.

“Publishing, Advertising & Broadcasting Claim” will mean any claim
based upon, arising out of, related to, directly or indirectly resulting
from, or in any way involving any:

A. infringement of any copyright, trademark, trade name,
trade dress, service mark, unauthorized use of title,
plagiarism or misappropriation of ideas; or

B. libel, slander or publication of material in violation of a
person’s right of privacy.

All other terms and conditions of this Policy remain unchanged.
* * *
ENDORSEMENT NO.: 12

This endorsement, effective 12:01 am, 12/23/18 forms of

Policy number: NY18DOLVO03594NV

issued to: Middle East Forum

By: Navigators Insurance Company
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SPECIFIC CIRCUMSTANCES EXCLUSION ENDORSEMENT

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
CAREFULLY.

Applicable to all Coverage Parts, the following exclusion is added:

In consideration of the premium paid for this policy, it is agreed
that the Insurer will not be liable to make any payment of any Loss
in connection with any Claim made against any Insured based
upon, arising out of, relating to, directly or indirectly resulting from,
or in any way involving the following:

Chubb Claim #: 390995 Tiffany Lee Claim

All other terms and conditions of this Policy remain unchanged.

* * *
See, Exhibit N.

20. The MEF Defendants have demanded Navigators defend and indemnify them
under the Policy in the Underlying Actions.

21. Navigators disclaims any obligations to defend or indemnify the MEF Defendants
under the Policy with respect to the Underlying Actions.

22. An actual and justiciable controversy exists between Navigators, on the one hand,
and MEF Defendants, on the other hand, as to the availability of insurance coverage for them
with respect to the claims in the Underlying Actions under the Policy, and, pursuant to the Federal
Declaratory Judgment Act, 28 U.S.C. § 2201-2202, this Court is vested with the power to declare
the rights and liabilities of the parties hereto and to give such other and further relief that may

be necessary.

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COUNT |
No Claim First Made within the Policy Period

23. Navigators incorporates and restates the allegations of Paragraphs 1 through 22
above as if fully set forth herein.

24. Subject to all of its terms, the Policy only provides EPL Coverage for claims first
made within the policy period and all claims involving the same “Wrongful Act” or “Related
Wrongful Acts” are considered one “claim” first made on the date of the first claim. (See, Ex. N).

25. Prior to the issuance of the Policy, Tiffany Lee made allegations against MEF and
Roman for alleged workplace sex harassment, discrimination and/or retaliation.

26. Prior to the issuance of the Policy and by approximately December 2016, the MEF
Defendants were aware of the Tiffany Lee Claim, i.e., her EEOC charge alleging Roman subjected
female employees to sexual harassment, sexual misconduct, sex discrimination, and retaliation.

27. Prior to the issuance of the Policy, the Tiffany Lee Claim was reported by or on
behalf of MEF to Chubb, the insurer who issued EPL insurance to MEF before the Policy was
issued.

28. The Tiffany Lee Claim is a claim first made before the Policy incepted.

29. The claims made in the Underlying Actions are “Related Wrongful Acts” to those
claims made in the Tiffany Lee Claim.

30. Therefore, the Underlying Actions are not claims first made against any insured
during the Policy Period or the Discovery Period as required by the Insuring Agreement of the
Policy.

31, Accordingly, Navigators does not owe any defense or indemnity obligation to the

MEF Defendants under the Policy with respect to the Underlying Actions.
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COUNT II
Prior Notice of Claim Exclusion Precludes Coverage

32. Navigators incorporates and restates the allegations of Paragraphs 1 through 31
above as if fully set forth herein.

33. The Policy excludes from coverage claims based upon, arising from, relating to,
directly or indirectly resulting from or in consequence of any “Wrongful Act” or “Related
Wrongful Act” or any fact or circumstance which has been the subject of any notice given under
any other policy of EPL coverage. (See, Ex. N, EPL Coverage Exclusion A.2).

34. The Tiffany Lee Claim was reported by or on behalf of MEF to Chubb, the insurer
who issued a policy of EPL insurance to MEF before the Policy incepted, in approximately January
2017.

35. The claims at issue in the Underlying Actions are claims based upon, arising from,
relating to, directly or indirectly resulting from or in consequence of the “Wrongful Acts” or
“Related Wrongful Acts” or facts or circumstances which were the subject of the Tiffany Lee Claim
which was reported to the insurer who issued a policy of EPL insurance to MEF before the Policy
incepted.

36. Therefore, Navigators does not owe any defense or indemnity obligation to the
MEF Defendants under the Policy with respect to the Underlying Actions.

COUNT III
The Tiffany Lee Claim Exclusion Precludes Coverage

37. Navigators incorporates and restates the allegations of Paragraphs 1 through 36

above as if fully set forth herein.

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38. The Policy excludes from coverage any claim made against any Insured based
upon, arising out of, relating to, directly or indirectly resulting from, or in any way involving the
Tiffany Lee Claim.

39. The claims at issue in the Underlying Actions are claims made against any Insured
based upon, arising out of, relating to, directly or indirectly resulting from, or in any way involving
the Tiffany Lee Claim.

40. Therefore, Navigators does not owe any defense or indemnity obligation to the
MEF Defendants under the Policy with respect to the Underlying Actions.

COUNT IV
Known Loss/Loss in Progress Doctrine Precludes Coverage

 

41. Navigators incorporates and restates the allegations of Paragraphs 1 through 40
above as if fully set forth herein.

42. The Underlying Actions allege Pipes received complaints for several years by
multiple female employees who complained about Roman’s sex discrimination, harassment and
retaliation.

43. The MEF Defendants were aware as early as December 2016 of an EEOC Charge
of Discrimination made by former MEF female employee Tiffany Lee alleging Roman subjected
female employees to sexual harassment and discrimination. A copy of MEF’s insurance
application, and the representations made therein, is attached as Exhibit O.

44. On or about November 1, 2018, Marnie O’Brien a/k/a Marnie Meyer allegedly
handwrote a letter to Pipes addressing Roman’s alleged misconduct with female employees,

which included, among others, O’Brien, an intern Leah Merville, and Barbounis. At a staff meeting

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on or about November 5, 2018, McNulty, Barbounis, O’Brien, Brady and Yonchek allegedly all
complained of harassment and discrimination of MEF’s female staff by Roman.

45. The MEF Defendants knew or should have known of facts and circumstances or
acts, errors or omissions which could give rise to a claim or a probable or actual loss by at least
November 2018, if not earlier, before the December 23, 2018 inception of the Policy.

46. The Known Loss/Loss in progress doctrine precludes coverage for the Underlying
Actions.

47. Knowledge of facts and circumstances that may give rise to a claim prior to the
Policy inception precludes coverage for the Underlying Actions.

48. Therefore, Navigators does not owe any defense or indemnity obligation to the
MEF Defendants under the Policy with respect to the Underlying Actions.

COUNT V
Bodily Injury/Emotional Distress/Assault and Battery is Excluded

49. Navigators incorporates and restates the allegations of Paragraphs 1 through 48
above as if fully set forth herein.

50. The Policy excludes from coverage bodily injury, sickness, mental anguish,
emotional distress (other than employment-related mental anguish, emotional distress or
humiliation) and assault and battery. (Ex. N, EPL Coverage Exclusion A.4).

51. The Underlying Actions allege the Underlying Plaintiffs were emotionally
distressed and Roman allegedly assaulted McNulty and Barbounis.

52. To the extent the claims at issue in the Underlying Actions are claims for bodily
injury, sickness, mental anguish, emotional distress (other than employment-related mental

anguish, emotional distress or humiliation) and assault and battery, coverage is excluded.
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COUNT VI
Privacy/Libel/Slander/Trespass Claims are Excluded

53. Navigators incorporates and restates the allegations of Paragraphs 1 through 52
above as if fully set forth herein.

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54. Exclusion A.4.b. precludes coverage for any “‘claim’ made against any ‘insured’ for
any actual or alleged false arrest, wrongful detention or imprisonment, malicious prosecution or
abuse of process, defamation, including libel, slander, publication of material in violation of a
person’s right of privacy, invasion of privacy, trespass, nuisance, wrongful entry or eviction,
assault, battery, loss of consortium, false arrest [or] false imprisonment.” (Ex. N, EPL Coverage
Exclusion A.4.b).

55. The Publishing, Advertising & Broadcasting Claim Exclusion Endorsement
precludes coverage for any “Claim” made against any “Insured” based upon, arising out of,
relating to, directly or indirectly resulting from, or in any way involving any libel, slander or
publication of material in violation of a person’s right of privacy. (Ex. N, Endorsement 4).

56. The Underlying Actions allege Roman forced the Underlying Plaintiffs to sit closely
next to Roman sometimes viewing photos and videos, he allegedly would stalk Underlying
Plaintiffs using the camera system and entered into their offices exploring their computers, and
would spread rumors about O’Brien and others, including that O’Brien got her prior job by
sleeping with her former boss. (Ex. A-M).

57. To the extent the claims at issue in the Underlying Actions are claims for false

arrest, wrongful detention or imprisonment, malicious prosecution or abuse of process,

defamation, including libel, slander, publication of material in violation of a person’s right of

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privacy, invasion of privacy, trespass, nuisance, wrongful entry or eviction, assault, battery, loss
of consortium, false arrest or false imprisonment, coverage is excluded.

COUNT VII
Criminal Acts are Excluded

58. Navigators incorporates and restates the allegations of Paragraphs 1 through 57
above as if fully set forth herein.

59. The Policy excludes from coverage claims brought about or contributed by the
deliberately fraudulent or criminal acts of any insured provided it is finally adjudicated that such
conduct in fact occurred. (See, Ex. N, Exclusion A.1).

60. The claims at issue in the Underlying Actions allege Roman attempted to lure
women using “fraud and coercion” and some female employees Roman supervised were subject
to sexual assault, including McNulty and Barbounis.

61. Therefore, to the extent it is finally adjudicated that one or more of the claims was
brought about or contributed to by the deliberately fraudulent or criminal acts of the MEF
Defendants, there is no coverage for any such claim.

COUNT VIII
Pipes/Roman/Bennett Not Insured

62. Navigators incorporates and restates the allegations of Paragraphs 1 through 61
above as if fully set forth herein.

63. To the extent liability in the Underlying Actions against either Pipes, Roman, or
Bennett is imposed in their individual capacity and not as an employee, officer or director of MEF

and/or they do not otherwise qualify as insureds under the Policy, there is no coverage.

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WHEREFORE, Plaintiff, Navigators Insurance Company, prays that this Court enter the

following relief:

A.

Brian F. Breen

A declaration finding Navigators owes no duty to defend or indemnify Defendants
for the Underlying Actions under the Policy; and
For all such just and equitable relief, including costs of this suit.

Respectfully Submitted,

By: /s/ Brian F. Breen
Attorneys for Navigators Insurance Company

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